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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



    ASSOCIATION OF AIR MEDICAL
    SERVICES,

                    Plaintiff,

           v.                                        No. 1:21-cv-03031-RJL

    U.S. DEPARTMENT OF HEALTH AND
    HUMAN SERVICES, et al.,

                    Defendants.




    AMERICAN MEDICAL ASSOCIATION,
    et al.,

                    Plaintiffs,

           v.                                        No. 1:21-cv-03231-RJL

    U.S. DEPARTMENT OF HEALTH AND
    HUMAN SERVICES, et al.,

                    Defendants.


    DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO CONSOLIDATE CASES OR,
             IN THE ALTERNATIVE, FOR AN EXTENSION OF TIME

        Consolidation of these cases is appropriate.1 Consolidation serves to “relieve[] the parties

and the Court of the burden of duplicative pleadings and Court orders,” New York v. Microsoft

Corp., 209 F. Supp. 2d 132, 148 (D.D.C. 2002), and this Court would face such a burden if it were




1The Defendants file this reply in response to the partial opposition of the Plaintiffs in No. 21-
3231, which was filed only on the docket of that case.

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required to decide the same statutory challenge to the Part II rule in each of these cases.

Consolidation would also avoid burdening the Court with “duplicative pleadings,” id., as there is

no good reason for the filing of the same brief and the same joint appendix under two separate

docket numbers, as the Plaintiffs in No. 21-3231 propose.

       The Defendants, of course, defer to the Court’s preferences as to how to go about issuing

a single decision or multiple decisions in these cases (a matter that would remain within this

Court’s discretion even after the cases are consolidated, see Hall v. Hall, 138 S. Ct. 1118, 1131

(2018)). The Defendants note, however, that in exercising this discretion the Court may wish to

consider that the challenge of the Plaintiff in No. 21-3031 to the Part I rule is in some ways related

to the challenge of both sets of Plaintiffs to the Part II rule. If the Court were to invalidate the

Departments’ methodology for the calculation of the qualifying payment amount, that ruling may

have a bearing on its consideration of the Part II rule. (To be clear, however, the Defendants

contend that all of the challenges to both rules lack merit.)

       Contrary to the accusations of the Plaintiffs in No. 21-3231, the Defendants have filed the

motion for consolidation to further the purposes of judicial economy, not for purposes of delay.

The Defendants voluntarily agreed to an expedited schedule for the filing of their summary

judgment motion and the service of the administrative record within a little more than six weeks

after these Plaintiffs filed their complaint. The Defendants did so despite the absence of any

plausible claim that the Plaintiffs suffer irreparable harm from the challenged rule, or that they

otherwise require an immediate ruling from this Court. The Defendants, moreover, do not seek

any alteration of the briefing schedule in No. 21-3231; briefing in both cases will be completed on

the same timetable as before. And both cases are record-review cases that will not require further

factual development for this Court to resolve.




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        The Defendants, accordingly, respectfully request that the Court grant the motion to

consolidate, or, in the alternative, that the Court grant their request for a one-week extension of

time for their reply brief in No. 21-3031 (which the Plaintiff in No. 21-3031 has joined in, together

with a joint request for an extension of time for that Plaintiff’s reply brief in that case).



Dated: January 28, 2022                         Respectfully submitted,

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